203 F.3d 1175 (9th Cir. 2000)
    KLAMATH WATER USERS PROTECTIVE ASSOCIATION; KLAMATH DRAINAGE DISTRICT; SAM HENZEL; HENZEL PROPERTIES, LTD., Plaintiffs-counter-defendants-Appellants,v.ROGER PATTERSON, Regional Director, Mid-Pacific Region, U.S. Bureau of Reclamation; KARL E. WIRKUS, Area Manager, Klamath Irrigation Project, U.S. Bureau of Reclamation; ELUID MARTINEZ, Commissioner of Reclamation, U.S. Department of the Interior; PATRICIA BENEKE, Assistant Secretary for Water and Science, U.S. Department of the Interior; BRUCE BABBITT,Secretary of the Interior; THE UNITED STATES BUREAU OF RECLAMATION; UNITED STATES OF AMERICA, Defendants-Appellees,andPACIFICORP, Defendant-counter-claimant-Appellee,andNORTHCOAST ENVIRONMENTAL CENTER; PACIFIC COAST FEDERATION OF FISHERMENS ASSOCIATION; INSTITUTE FOR FISHERIES RESOURCES; KLAMATH FOREST ALLIANCE; MAZAMAS; OREGON NATURAL RESOURCES CENTER; THE WILDERNESS SOCIETY; WATERWATCH OF OREGON; YUROK TRIBE, Defendant-Intervenors-Appellees.
    No. 98-35708
    U.S. Court of Appeals for the Ninth Circuit
    January 28, 2000
    
      Appeal from the United States District Court for the District of Oregon; Michael R. Hogan, District Judge, Presiding. D.C. No. CV-97-3033 MRH.
      Before: Betty B. Fletcher, Warren J. Ferguson, and A. Wallace Tashima, Circuit Judges.
    
    ORDER
    
      1
      The opinion filed September 9, 1999, is amending by adding a new footnote 3 at the end of Part II.B.3, slip op. at 11169, 191 F.3d at 1123, as follows:
    
    
      2
      3. An adjudication of all of the rights to the use of the surface waters of the Klamath River Basin ("Basin"), within the State of Oregon, is now pending in state court. See United States v. Oregon, 44 F.3d 758 (9th Cir. 1994). That is a comprehensive water rights adjudication contemplated by the McCarran Amendment, 43 U.S.C. S 666, and questions of relative amounts and priorities, at least within the State of Oregon, will be decided there. Our decision in this case and that of that district court relate only to questions involving the Bureau's operation and management of the Project, and not to the relative rights of others not before the court to the use of the waters of the Basin.
    
    
      3
      With this amendment, the panel has voted to deny appellants' petition for panel rehearing. Judge Tashima votes to deny the petition for rehearing en banc and Judges B. Fletcher and Ferguson so recommend.
    
    
      4
      The full court has been advised of the petition for rehearing en banc and no judge of the court has requested a vote on en banc rehearing. Fed. R. App. P. 35(b).
    
    
      5
      The petition for panel rehearing and the petition for rehearing en banc are denied.
    
    